                    Case 1-18-45675              Doc 1        Filed 10/01/18             Entered 10/01/18 14:36:48

Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.

            2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
              a. Total assets                                                             $       0

              b. Total debts (including debts listed in 2.c., below)                      $           12,0000
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock                                                                                  0
              e. Number of shares common stock                                                                                        0


              Comments, if any:



              3. Brief description of debtor=s business:             Intellectual properties.



            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
                                                           Patricia D. Simms, Latoya Cort, Christopher Gil,
                 Audrey A. Thomas




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
